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5    Attorney for Anthony Rivera
6

7                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     THE UNITED STATES OF AMERICA, ) No. CR-S-11-295 MCE
10                                 )
                     Plaintiff,    ) MEMORANDUM
11        v.                       ) RE: STATUS OF COUNSEL
                                   )
12   ANTHONY RIVERA,               )
13
                                   ) Date: 2/9/2012
                     Defendant.    ) Time: 9:00 a.m.
14                                 ) Judge: MCE

15                         It is requested that this matter be placed on calendar
16
     February 9, 2011 at 9:00 AM to determine status of counsel.
17

18
     Dated: February 8, 2012                                   Respectfully submitted,
19

20                                                             /s/ Michael Bigelow__________
                                                               MICHAEL BIGELOW
21                                                             Attorney for Anthony Rivera
22

23
                                                       ORDER

24                         IT IS SO ORDERED.

25   Dated:                   February 8, 2012
26
                                                    __________________________________
27                                                  MORRISON C. ENGLAND, JR
                                                    UNITED STATES DISTRICT JUDGE
28
     DEAC_Signature-END:




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